        Case 3:14-cr-01288-DMS                        Document 1246                  Filed 07/28/16              PageID.8264               Page 1 of
                                                                                4

     ¢M.O 2458 (CASD) (Rev. 4/14)   Judgment in a Criminal Case
                Sheet 1



                                               UNITED STATES DISTRICT COUtt'jUL28AHll:,SJ
                                                   SOUTHERN DISTRICT OF CALIFORN~~~1mnr~
                     UNITED STATES OF AMERICA                                       JUDGMENT IN A CRIMINAL CASE                                   .t6
                                         v.                                         (For Offenses CommittwlrOn or After November l;~

                     DONALD EUGENE BANDY (II)                                       Case Number: 14CR1288-DMS
                                                                                    Robert Swain CJA
                                                                                    Defendant's Attorney
     REGISTRATION NO. 47115298

     o
     THE DEFENDANT:
     ~ pleaded guilty to count(s) I of the 5th Superseding Indictment

     o was found guilty on count(s)_ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __
           after a plea of not gUilty.
           Accordingly, the defendaut is adjudged guilty of such count(s), which involve the following offense(s):
                                                                                                                                                Count
     Title & Section                          Nature of Offense                                                                             Numberfsl
18 USC 1962(d)                         CONSPIRACY TO CONDUCT ENTERPRISE AFFAIRS THROUGH A                                                   I
                                        PATTERN OF RACKETEERING ACTIVITY




        The defendant is sentenced as provided in pages 2 through _ _,,4_ _ ofthis judgment. The sentence is imposed pursuant
 to the Sentencing Reform Act of 1984.
 D The defendant has been found not gUilty on count(s)
 181 count(S)..,;r"em=.I""n::;in"'g'-_ _ _ _ _ _ _ _ _ _------------------------------------
                                                        _ _ _ _ _ _ _ is D are[8] dismissed on the motion of the United States.
 ~ Assessment: $100.00,



 ~ Fine waived                                      o    Forfeiture pursuant to order filed -,_ _ _ _ _ _-::-_' included herein.
       IT IS ORDERED that the defendant shall notify the United States Attorney for this district within 30 days of any change of name, residence,
 or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are fully paid. If ordered to pay restitution, the
 defendant shall notify the court and United States Attorney of any material change in the defendant's economic circumstances.
                                                                               Jul 28,2016
                                                                               Date of Imposit~Sentence


                                                                                             vb"", .
                                                                              HON. DANA M. SABRAW
                                                                              UNITED STATES DISTRICT JUDGE


                                                                                                                                                14CR1288-DMS
      Case 3:14-cr-01288-DMS                      Document 1246             Filed 07/28/16          PageID.8265           Page 2 of
                                                                        4
AD 245B (CASD) (Rev. 4/14)   Judgment in a Criminal Case
            Sheet 2 - Imprisonment
                                                                                                   Judgment - Page __2,,-_ of   4
 DEFENDANT: DONALD EUGENE BANDY (11)
 CASE NUMBER: 14CR1288-DMS
                                                            IMPRISONMENT
          The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a term of
          TWO HUNDRED AND FORTY (240) MONTHS.



      o Sentence imposed pursuant to Title 8 USC Section 1326(b).
      181 The court makes the following recommendations to the Bureau of Prisons:
          Defendant participate in the RDAP 240-hour drug treatment program.
          Defendant be designated to a facility in the Southwest Region of the United States.



      o The defendant is remanded to the custody of the United States Marshal.
      o The defendant shall surrender to the United States Marshal for this district:
            Oat                                     Oa.m.      Op.m.        on _ _ _ _ _ _ _ _ _ __

               as notified by the United States Marshal.

      o The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:
           o before - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - -
           o as notified by the United States Marshal.
           D as notified by the Probation or Pretrial Services Office.

                                                                  RETURN

 I have executed this judgment as follows:

         Defendant delivered on                                                       to

 at                                                    with a certified copy of this judgment.


                                                                                                 UNITED STATES MARSHAL


                                                                        By ______~==~==~~~~~--------
                                                                                            DEPUTY UNITED STATES MARSHAL




                                                                                                                         14CR1288-DMS
       Case 3:14-cr-01288-DMS                     Document 1246                 Filed 07/28/16             PageID.8266              Page 3 of
                                                                           4
AO 24SB (CASD) (Rev.4/14) Judgment in a Criminal Case
           Sheet 3 - Supervised Release
                                                                                                               Judgment Page   --l....- of          4
DEFENDANT: DONALD EUGENE BANDY (11)                                                                   II
CASE NUMBER: 14CR1288-DMS
                                                          SUPERVISED RELEASE
Upon release from imprisonment, the defendant shall be on supervised release for a term of:
FIVE (5) YEARS.

         The defendant shall report to the probation office in the district to which the defendant is released within 72 hours of release from
the custody of the Bureau of Prisons.
The defendant shall not commit another federal, state or local crime.
For offenses committed on or after September 13, 1994:
The defendant shall not illegally possess a controlled substance. The defendant shall refrain from any unlawful use of a controlled
substance. The defendant shall submit to one drug test within 15 days of release from imprisonment and at least two periodic drug tests
thereafter as determined by the court. Testing requirements will not exceed submission of more than _4_ drug tests per month during
the term of supervision, unless otherwise ordered by court.

D The above drug testing condition is suspended, based on the court's determination that the defendant poses a low risk of
        future substance abuse. (Check, if applicable.)
       The defendant shall not possess a firearm, ammunition, destructive device, or any other dangerous weapon.
       The defendant shall cooperate in the collection of a DNA sample from the ,defendant, pursuant to section 3 of the DNA Analysis
        Backlog Elimination Act of2000. pursuant to 18 USC sections 3563(a)17) and 3583(d).
       The defendant shall comply with die requirements of the Sex Offender Registration and Notification Act (42 U.S.c. § 16901, et seq.) as directed
       by the probation officer, the Bureau of Prisons, or any state sex offender registration agency in which he or she resides, works, is a student, or
       was convicted ofa qualifying offense. (Check if applicable.)
D The defendant shall participate in an approved program for domestic violence. (Check, if applicable.)
          If this judgment imposes a fine or restitution obligation, it is a condition of supervised release that the defendant pay any such fme
or restitution that remains unpaid at the commencement of the term of supervised release in accordance with the Schedule of Payments set
forth in this judgment.
         The defendant must comply with the standard conditions that have been adopted by this court. The defendant shall also comply with
any special conditions imposed.

                                        STANDARD CONDITIONS OF SUPERVISION
  1)     the defendant shall not leave the judicial district without the permission of the court or probation officer;
  2)     the defendant shall report to the probation officer in a manner and frequency directed by the court or probation officer;
  3)     the defendant shall answer truthfully all inquiries by the probation officer and follow the instructions of the probation officer;
  4)     the defendant shall support his or her dependents and meet other family responsibilities;
  5)     the defendant shall work regularly at a lawful occupation, unless excused by the probation officer for schooling, training, or other
         acceptable reasons;
  6)     the defendant shall notify the probation officer at least ten days prior to any change in residence or employment;
  7)     the defendant shall refrain from excessive use of alcohol and shall not purchase, possess, use, distribute, or administer any
         controlled substance or any paraphernalia related to any controlled substances, except as prescribed by a physician;
  8)     the defendant shall not frequent places where controlled substances are illegally sold, used, distributed, or administered;
  9)     the defendant shall not associate with any persons engaged in criminal activity and shall not associate with any person convicted of
         a felony, unless granted permission to do so by the probation officer;
 10)     the defendant shall permit a probation officer to visit him or her at any time at home or elsewhere and shall permit confiscation of any
         contraband observed in plain view of the probation officer;
 11)     the defendant shall notify the probation officer within seventy-two hours ofbeing arrested or questioned by a law enforcement officer;
 12)     the defendant shall not enter into any agreement to act as an informer or a special agent of a law enforcement agency without the
         permission of the court; and
 13)     as directed by the probation officer, the defendant shall notify third parties of risks that may be occasioned by the defendant's criminal
         record or personal history or characteristics and shall permit the probation officer to make such notifications and to confirm the
         defendant's compliance with such notification requirement.

                                                                                                                                       14CR1288-DMS
        Case 3:14-cr-01288-DMS                        Document 1246          Filed 07/28/16           PageID.8267                 Page 4 of
                                                                         4
       AO 245B (CASD) (Rev. 4114) Judgment in a Criminal Case
                   Sheet 4 - Special Conditions
                                                                                                         Judgment   Page   ----i...- of     4
       DEFENDANT: DONALD EUGENE BANDY (11)
       CASE NUMBER: 14CR1288-DMS




                                              SPECIAL CONDITIONS OF SUPERVISION
     The defendant shall submit to search of person, property, residence, office or vehicle conducted by the probation officer, or any law
     enforcement officer, at any time of the day or night, with or without a warrant, and with or without reasonable suspicion or probable
     cause, Failure to submit to a search may be ground for revocation. The defendant shall warn any other residents that the premises may be
     subject to searches pursuant to this condition. (Fourth Amendment Waiver).

D deportation,
  If deported, excluded, or allowed to volnntarily return to country of origin, not reenter the United States illegally; supervision waived upon
               exclusion or voluntary departure.
o   Not transport, harbor, or assist undocumented aliens.
o   Not associate with undocumented aliens or alien smugglers.
D   Not reenter the United States illegally.
o   Not enter or reside in the Republic of Mexico without written pennission of the Court or probation officer.
D   Report all vehicles owned or operated, or in which you have an interest, to the probation officer.
o   Not possess any narcotic drug or controlled substance without a lawful medical prescription:
o   Not associate with known users of, smugglers of, or dealers in narcotics, controlled substances, or dangerous drugs in any form.
D Participate in a program of mental health treatment as directed by the probation officer, take all medications as prescribed by a
    psychiatrist/physician, and not discontinue any medication without permission. The Court authorizes the release of the presentence report
    and available psychological evaluations to the mental health provider, as approved by the probation officer. Allow for reciprocal release of
    information between the probation officer and the treatment provider. May be required to contribute to the costs of services rendered in an
    amonnt to be determined by the probation officer, based on the defendant's ability to pay.
Igj Not have any contact, direct or indirect, either telephonically, visually, verbally or through written material, or through any third-party
    communication, with the victim's family.
D Provide complete disclosure of personal and business financial records to the probation officer as requested.
D Be prohibited from opening checking accounts or incurring new credit charges or opening additional lines of credit without approval of the
    probation officer.

D Seek and maintain full time employment.
D Resolve all outstanding warrants within 60 days of release from custody.
D Complete General Education Development GED requirements during the first 18 months of supervision.
D Reside in a Residential Reentry Center (RRC) as directed by the probation officer for a period of
    Participate in a program of drug or alcohol abuse treatment, including urinalysis or sweat patch testing and counseling, as directed by the
    probation officer. Allow for reciprocal release of information between the probation officer and the treatment provider. May be required to
    contribute to the costs of services rendered in an amount to be detennined by the probation officer, based on the defendant's ability to pay.

Igj Not associate with any member, prospect, or associate of the West Coast Crips 3-Babiez clique street gangs, or any other gang or club with
    a history of criminal activity, unless given permission by the probation officer.

    X Not wear or possess any paraphernalia, insignia, clothing, photographs, or any other materials associated with a gang, unless given
    permission by the probation officer.

    X Not loiter, or be present in locations known to be areas where gang members congregate, unless given permission by the probation
    officer.




                                                                                                                                          14CR1288-DMS
